               Case: 1:23-cv-01470-CEF Doc #: 1-2 Filed: 07/27/23 1 of 2. PageID #: 31

                                                                             Investment Office <a@graymattergr.com>



You have authorized a payment to 1&1 IONOS Inc.
1 message

service@paypal.com <service@paypal.com>                                                     Wed, Oct 31, 2018 at 9:54 PM
To: anthony davian <a@graymattergr.com>




                                                                                      Oct 31, 2018 18:54:34 PDT
                                                                            Transaction ID: 0U94626815386711E

      Hello anthony davian,


      You authorized a transaction to 1&1 IONOS Inc. Money won't leave your account until 1&1
      IONOS Inc. processes your order.


       Thanks for using PayPal. To see the full transaction details, log in to your PayPal account. Keep in
       mind, it may take a few moments for this transaction to appear.


      Merchant                                              Instructions to merchant
      1&1 IONOS Inc.                                        You haven't entered any instructions.
      billing@1and1.com




       Description                                          Unit price            Qty                     Amount

       Your purchase at 1&1                              $40.00 USD                  1               $40.00 USD



                                                                             Subtotal                $40.00 USD
                                                                                 Total               $40.00 USD


                                                                            Payment                  $40.00 USD



                                                                         Payment sent from a@graymattergr.com
           Case: 1:23-cv-01470-CEF Doc #: 1-2 Filed: 07/27/23 2 of 2. PageID #: 32
                               The final payment amount may change when the merchant completes the order.



Issues with this transaction?
You have 180 days from the date of the transaction to open a dispute in the Resolution Center.


    Questions? Go to the Help Center at www.paypal.com/help.


Please do not reply to this email. This mailbox is not monitored and you will not receive a response. For assistance, log in to

your PayPal account and click Help in the top right corner of any PayPal page or please contact us toll free at 1-888-221-1161.

You can receive plain text emails instead of HTML emails. To change your Notifications preferences, log in to your account, go

to your Profile, and click My settings.




Copyright © 1999-2018 PayPal, Inc. All rights reserved. PayPal is located at 2211 N. First St., San Jose, CA
95131.

PayPal PPX001066:1.1:91121571204c8
